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BTXN 221 (rev. 09/22)
                                   UNITED STATES BANKRUPTCY COURT
                                     NORTHERN DISTRICT OF TEXAS


In Re:                                                  §
Highland Capital Management, L.P.                       §
                                                        § Case No.: 19−34054−sgj11
                                       Debtor(s)        § Chapter No.: 11
Highland Capital Management, L.P.                       §
                                       Plaintiff(s)     § Adversary No.: 21−03003−sgj
     vs.                                                §
James Dondero et al.                                    § Civil Case No.:       Civ. Act. No. 3:21−cv−01010
                                                        § (Consolidated Under Civ. Act. No. 3:21−cv− 00881)
                                       Defendant(s)     §
                                                        §
HIGHLAND CAPITAL MANAGEMENT, L.P.,                      §
                           Plaintiff(s)                 §
    vs.                                                 §
JAMES D. DONDERO, NANCY DONDERO, AND                    §
THE DUGABOY INVESTMENT TRUST                            §
                           Defendant(s)                 §


             NOTICE OF TRANSMITTAL OF REPORT AND RECOMMENDATION
I am transmitting:

          One copy of: Supplement to Report and Recommendation Dated July 19, 2022, Transmitting
          Proposed Forms of Judgment .



DATED: 11/14/22                               FOR THE COURT:
                                              Robert P. Colwell, Clerk of Court

                                              by: /s/Sheniqua Whitaker, Deputy Clerk
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The following constitutes the ruling of the court and has the force and effect therein described.




Signed November 10, 2022
______________________________________________________________________




                              IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE NORTHERN DISTRICT OF TEXAS
                                          DALLAS DIVISION



      In re:                                          Case No. 19-34054-sgj11
      HIGHLAND CAPITAL MANAGEMENT, L.P.
      Reorganized Debtor.                             Chapter 11

      HIGHLAND CAPITAL MANAGEMENT, L.P.,
               Plaintiff.
      v.                                              Adversary No. 21-03004-sgj
      HIGHLAND CAPITAL MANAGEMENT FUND                Civ. Act. No. 3:21-cv-00881
      ADVISORS, L.P.,
               Defendant.

      HIGHLAND CAPITAL MANAGEMENT, L.P.,

               Plaintiff.
                                                      Adversary No.: 21-03005-sgj
      v.
                                                      Civ. Act. No. 3:21-cv-00880
      NEXPOINT ADVISORS, L.P., JAMES
                                                      (Consolidated Under Civ. Act. No. 3:21-cv-
      DONDERO, NANCY DONDERO, AND
                                                      00881)
      THE DUGABOY INVESTMENT TRUST,
               Defendants.
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    HIGHLAND CAPITAL MANAGEMENT, L.P.,
            Plaintiff.
    v.                                                    Adversary No. 21-03003-sgj
    JAMES D. DONDERO, NANCY DONDERO,                      Civ. Act. No. 3:21-cv-01010
    AND THE DUGABOY INVESTMENT TRUST,
                                                          (Consolidated Under Civ. Act. No. 3:21-cv-
                                                          00881)
            Defendants.

    HIGHLAND CAPITAL MANAGEMENT, L.P.,

            Plaintiff.
                                                          Adversary No.: 21-03006-sgj
    v.
                                                          Civ. Act. No. 3:21-cv-01378
    HIGHLAND CAPITAL MANAGEMENT
                                                          (Consolidated Under Civ. Act. No. 3:21-cv-
    SERVICES, INC., JAMES DONDERO, NANCY
                                                          00881)
    DONDERO, AND THE DUGABOY
    INVESTMENT TRUST,
            Defendants.

    HIGHLAND CAPITAL MANAGEMENT, L.P.,

            Plaintiff.
                                                          Adversary No.: 21-03007-sgj
    v.
                                                          Civ. Act. No. 3:21-cv-01379
    HCRE PARTNERS, LLC (n/k/a NEXPOINT
                                                          (Consolidated Under Civ. Act. No. 3:21-cv-
    REAL ESTATE PARTNERS, LLC), JAMES
                                                          00881)
    DONDERO, NANCY DONDERO AND THE
    DUGABOY INVESTMENT TRUST,
            Defendants.


         SUPPLEMENT TO REPORT AND RECOMMENDATION DATED JULY 19, 2022,
                 TRANSMITTING PROPOSED FORMS OF JUDGMENT
I.         Introduction and Background

           On July 20, 2022, the bankruptcy clerk transmitted this court’s Report and

Recommendation to District Court: Court Should Grant Plaintiff’s Motion for Partial Summary

Judgment Against All Five Note Maker Defendants1 (With Respect to All Sixteen Promissory


1
  The “Note Maker Defendants”—sometimes collectively referred to simply as the “Defendants”—are: James D.
Dondero (Adv. Pro. 21-3003)(Civ. Action No. 3:21-cv-01010); Highland Capital Management Fund Advisors, L.P.
(Adv. Pro. 21-3004)(Civ. Action No. 3:21-cv-00881); NexPoint Advisors, L.P. (Adv. Pro. 21-3005)(Civ. Action No.


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Notes) in the Above-Referenced Consolidated Note Actions (“R&R MPSJ”)[DE # 50]2 for filing

in the above-referenced consolidated Civ. Act. No. 3:21-cv-881. In the R&R MPSJ, this court

recommended that the District Court enter summary judgment “holding the Note Maker

Defendants liable for (a) breach of contract and (b) turnover for all amounts due under the Notes,

pursuant to Bankruptcy Code Section 542, including the costs of collection and reasonable

attorneys’ fees in an amount to be determined.” In the last paragraph of the R&R MPSJ, this court

directed Plaintiff (Highland) “to promptly submit a form of Judgment applicable to each Note

Maker Defendant that calculates proper amounts due pursuant to this Report and

Recommendation, including interest accrued to date (and continuing to accrue per diem), as

well as costs and attorneys’ fees incurred.” The court further set forth the procedures for the

submission of the proposed forms of judgment and this court’s transmittal of such to the District

Court for its consideration in connection with the R&R MPSJ:

        The costs and attorneys’ fees calculation shall be separately filed as a Notice
        with backup documentation attached. The Note Maker Defendants shall have
        21 days after the filing of such Notice to file an objection to the reasonableness
        of the attorneys’ fees and costs. The bankruptcy court will thereafter
        determine the reasonableness in Chambers (unless the bankruptcy court
        determines that a hearing is necessary) and will promptly submit the form
        Judgments, along with appropriate attorneys’ fees and costs amounts inserted
        into the form Judgments, to the District Court, to consider along with this
        Report and Recommendation.

R&R MPSJ, last para.




3:21-cv-00880); Highland Capital Management Services, Inc. (Adv. Pro. 21-3006)(Civ. Action No. 3:21-cv-01378);
and HCRE Partners, LLC, n/k/a NexPoint Real Estate Partners, LLC (Adv. Pro. 21-3007)(Civ. Action No. 3:21-cv-
01379).
2
  The R&R MPSJ was entered separately in each of the five underlying adversary proceedings on July 19, 2022 prior
to transmittal to the District Court. See Adv. Pro. 21-3003 [DE #191], Adv. Pro. 21-3004 [DE #163], Adv. Pro. 21-
3005 [DE #207], Adv. Pro. 21-3006 [DE #213], and Adv. Pro. 21-3007 [DE #208].


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II.        Proposed Forms of Judgment and Notices of Attorneys’ Fees and Costs

           A.    Highland Submits Proposed Forms of Judgment and Notices of Attorneys’ Fees
           and Costs To Be Included Therein

           The parties entered into a stipulation (the “Stipulation”) regarding the procedures for

objecting to the R&R MPSJ in the District Court and for the submission of the proposed forms of

judgment and attorneys’ fees and costs to the bankruptcy court pursuant to the directive in the

R&R MPSJ, which was filed on July 25, 2022, in each of the adversary proceedings3 and on July

26, 2022, in the District Court.4 In the Stipulation, the parties agreed and stipulated to a briefing

schedule as follows:5

           1. Plaintiff will file a form of judgment (as described in the R&R) (the
              “Proposed Judgment”) with Notice by August 5, 2022;

           2. Defendants will file any objections to the R&R and/or the Proposed Judgment
              (“Defendants’ Objections”) by August 23, 2022; [and,]

           3. Plaintiff will respond to Defendants’ Objections on or before September 27,
              2022.

           On August 5, 2022, Highland filed its Declaration of David Klos in Support of Highland

Capital Management, L.P.’s Proposed Form of Judgment,6 Notice of Attorneys’ Fees Calculation

and Backup Documentation regarding the fees and costs of Pachulski, Stang, Ziehl & Jones, L.L.P.

(“PSZ&J”),7 and Notice of Attorneys’ Fees Calculation and Backup Documentation of Hayward




3
 See Adv. Pro. 21-3003 [DE #196], Adv. Pro. 21-3004 [DE #168], Adv. Pro. 21-3005 [DE #212], Adv. Pro. 21-3006
[DE #218], and Adv. Pro. 21-3007 [DE #213].
4
    See Notice of Stipulation for Objection to Report and Recommendation in Notes Litigation [DE #53].
5
    Stipulation at 4.
6
 See Adv. Pro. 21-3003 [DE #199], Adv. Pro. 21-3004 [DE #171], Adv. Pro. 21-3005 [DE #216], Adv. Pro. 21-3006
[DE #221], and Adv. Pro. 21-3007 [DE #216].
7
 See Adv. Pro. 21-3003 [DE #197], Adv. Pro. 21-3004 [DE #169], Adv. Pro. 21-3005 [DE #214], Adv. Pro. 21-3006
[DE #219], and Adv. Pro. 21-3007 [DE #214].


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PLLC.8 Highland did not file with the bankruptcy court its proposed forms of judgment (but did

upload the proposed form of judgment (“Proposed Judgment(s)”) to the bankruptcy court’s order

processing system in each of the five adversary proceedings).

        B.       Defendants Object to Proposed Form of Judgment Awarding Attorneys’ Fees and
                 Costs

        On August 23, 2022, the Defendants filed in the bankruptcy court Defendants’ Objection

to Plaintiff’s Proposed Form of Judgment Awarding Attorney’s Fees and Costs9 in which they

objected to Highland’s proposed form of judgment and to the reasonableness of the attorneys’ fees

proposed to be included therein (“Proposed Judgment Objection”).10 Defendants objections to the

Proposed Judgment fall into one of seven categories:

        (1) Mathematical error;

        (2) Excessive redaction;

        (3) Fees should be limited to breach of contract and turnover claims;

        (4) “Unsegregated fees” should be excluded;

        (5) Fees attributable to “unsuccessful litigation” should be excluded;

        (6) PSZ&J’s rates are too high;

        (7) The distribution of fees and costs equally among the five Defendants is unreasonable.




8
 See Adv. Pro. 21-3003 [DE #198], Adv. Pro. 21-3004 [DE #170], Adv. Pro. 21-3005 [DE #215], Adv. Pro. 21-3006
[DE #220], and Adv. Pro. 21-3007 [DE #215].
9
 See Adv. Pro. 21-3003 [DE #204], Adv. Pro. 21-3004 [DE #173], Adv. Pro. 21-3005 [DE #221], Adv. Pro. 21-3006
[DE #226], and Adv. Pro. 21-3007 [DE #221].
10
  On the same day, the Defendants filed in the District Court Defendants’ Objection to the Bankruptcy Court’s Report
and Recommendation to the District Court Proposing That It Grant Summary Judgment in Favor of the Plaintiff
(“Objection to R&R MPSJ”) [DCT DE #62].


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        C.       Highland Files Motion for Leave to Supplement Backup Documentation with
                 Supplemental Invoices

        Defendants allege in the Proposed Judgment Objection that there is a math error (“Alleged

Math Error”) of $395,996.50, see Proposed Judgment Objection at 5-6, and “[t]here may be a

small portion of that amount attributable to partially redacted entries for which the total was

redacted, making it unduly difficult to decipher,” id. at 6 n.2. On September 20, 2022, Highland’s

counsel emailed Defendants’ counsel to inform them that there is no Alleged Math Error because:

(a) Highland inadvertently omitted from its Backup Documentation the fee invoices for January

and February 2022, and (b) some entries were redacted because they referred to tasks unrelated

to the Notes Litigation, but the unredacted time should be added up and multiplied by the hourly

rate of the applicable timekeeper. Morris Dec. Ex. A.11 Highland also attached to its email, inter

alia, the invoices for January and February 2022 (the “Supplemental Invoices”), which total

$307,493.50 (and which account for approximately 80% of the Alleged Math Error). Morris

Dec. Ex. B and Ex. C, respectively. Highland’s counsel offered to stipulate to this issue,

advising Defendants’ counsel that if they did not respond by noon on Friday, September 23,

2022, Highland would move for leave to supplement the Backup Documentation with the

Supplemental Invoices. Morris Dec. Ex. A. Defendants’ counsel had not responded as of

September 27, 2022, when Highland filed its Motion for Leave, seeking leave of the bankruptcy

court to supplement the Backup Documentation with the Supplemental Invoices. Motion for

Leave, ¶ 9. On the same day, Highland filed its Response to Defendants’ Objection to Plaintiff’s



11
  References to “Morris Dec.” are to the Declaration of John A. Morris in Support of Highland Capital Management,
L.P.’s Motion for Leave to Supplement Backup Documentation in Support of Proposed Judgment, Adv. Pro. 21-3003
[DE #206], Adv. Pro. 21-3004 [DE #175], Adv. Pro. 21-3005 [DE #223], Adv. Pro. 21-3006 [DE #228], and Adv.
Pro. 21-3007 [DE #223], filed in the adversary proceedings in connection with Highland’s Motion for Leave to
Supplement Backup Documentation in Support of Proposed Judgment (“Motion for Leave”) filed on September 27,
2022. Adv. Pro. 21-3003 [DE #205], Adv. Pro. 21-3004 [DE #174], Adv. Pro. 21-3005 [DE #222], Adv. Pro. 21-3006
[DE #227], and Adv. Pro. 21-3007 [DE #222].


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Proposed Form of Judgment Awarding Attorney’s Fees and Costs12 and its brief in support of

its Proposed Form of Judgment Awarding Attorneys’ Fees and Costs (together, the

“Response”).13

        On October 18, 2022 – 28 days after Defendants’ counsel had been provided with copies

of the Supplemental Invoices – Defendants filed their Opposition to Highland Capital

Management, L.P.’s Motion for Leave to Supplement Backup Documentation in Support of

Proposed Judgment (“Opposition”).14 Defendants argued that Highland should not be allowed

to supplement the Backup Documentation with the Supplemental Invoices because allowing

such would cause Defendants to “suffer prejudice.” Specifically, Defendants asserted that

Highland’s failure to include the Supplemental Invoices as part of the original Backup

Documentation (a) “has prejudiced Defendants by not allowing Defendants to timely examine

the statements for accuracy, duplicity of work, redactions, and other factors relating to a

reasonableness and necessity-of-attorney’s-fees analysis,” (b) gives Highland “two bites at the

apple to recover [fees and costs] it never presented to Defendants for examination in the first

place,” and (c) has caused Defendants to be prejudiced and to suffer “undue surprise because

[they were] not afforded an opportunity to examine those statements while [they were] briefing

on Plaintiff’s originally-provided billing statements.” Opposition, ¶ 3.




12
  Adv. Pro. 21-3003 [DE #207], Adv. Pro. 21-3004 [DE #176], Adv. Pro. 21-3005 [DE #224], Adv. Pro. 21-3006
[DE #229], and Adv. Pro. 21-3007 [DE #224].
13
  Adv. Pro. 21-3003 [DE #208], Adv. Pro. 21-3004 [DE #177], Adv. Pro. 21-3005 [DE #225], Adv. Pro. 21-3006
[DE #230], and Adv. Pro. 21-3007 [DE #225].
14
  Adv. Pro. 21-3003 [DE #210], Adv. Pro. 21-3004 [DE #179], Adv. Pro. 21-3005 [DE #227], Adv. Pro. 21-3006
[DE #232], and Adv. Pro. 21-3007 [DE #227].


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        On October 21, 2022, Highland filed its Reply in Further Support of Its Motion for Leave

to Supplement Backup Documentation in Support of Proposed Judgment (“Reply”).15 This

court considered Highland’s Motion for Leave, Defendants’ Opposition, and Highland’s Reply

and, on October 24, 2022, entered orders in each of the adversary proceedings, granting

Highland’s Motion for Leave, allowing Highland to supplement the Backup Documentation

with the Supplemental Invoices.16

        D.      This Court Recommends That the District Court Overrule Defendants’
                Objections to the Proposed Forms of Judgment Awarding Attorneys’ Fees and
                Costs

        This court then turned to its in-chambers review of the Defendants’ Proposed Judgment

Objection in accordance with the procedures set forth in the “Submission of Judgment” section

of its R&R MPSJ. For the following reasons, this court recommends that the District Court

overrule each of the objections set forth in Defendants’ Proposed Judgment Objection:

     1. Objection #1: Mathematical Error

        As noted above, Defendants object to the proposed attorneys’ fees and costs based on an

Alleged Math Error. With leave of court, Highland supplemented the Backup Documentation with

two invoices (for January 2022 and February 2022), which accounted for nearly 80% of the

Alleged Math Error.       The remaining approximately 20% of the Alleged Math Error was

attributable to the “partially redacted entries for which the total was redacted” and which

Defendants found to be “unduly difficult to decipher.” Highland explained that multiplying the

time identified in the unredacted portions of the partially redacted entries, only, by the hourly rate



15
  Adv. Pro. 21-3003 [DE #211], Adv. Pro. 21-3004 [DE #180], Adv. Pro. 21-3005 [DE #228], Adv. Pro. 21-3006
[DE #233], and Adv. Pro. 21-3007 [DE #228].
16
  Adv. Pro. 21-3003 [DE #212], Adv. Pro. 21-3004 [DE #181], Adv. Pro. 21-3005 [DE #229], Adv. Pro. 21-3006
[DE #234], and Adv. Pro. 21-3007 [DE #229].


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of the identified timekeeper (and totaling the resultant amounts) accounts for the remaining

Alleged Math Error, such that there is no math error in the proposed attorneys’ fees and costs to

be included in the Proposed Judgments. Thus, this court recommends that the District Court

overrule this objection to the Proposed Judgments and reasonableness of attorneys’ fees and costs

to be included therein.

    2. Objection #2: Excessive Redaction

        Defendants contend that fees should not be awarded for “overly redacted” time entries. As

set forth in the Morris Declaration (filed in support of the Proposed Judgment(s) and Notices of

Attorneys’ Fees and Costs), Highland does not seek compensation for any time entry that was

redacted; therefore, the court recommends that the district court overrule this objection to the

Proposed Judgments and reasonableness of attorneys’ fees and costs to be included therein.

    3. Objection #3: Fees Should Be Limited to Breach of Contract and Turnover Claims

        Defendants argue that Plaintiff may only recover fees for the breach of contract and turnover

claims in the complaints because those two counts were “the only claims addressed by the R&R

issued by the Court,” quoting the Texas Supreme Court case, Tony Cullo Motors I, L.P. v. Chapa,

212 S.W.3d 299, 311 (Tex. 2006), for the proposition that “Absent a contract or statute, trial courts

do not have inherent authority to require a losing party to pay the prevailing party’s fees.” The

Chapa case does not support Defendants’ objection because the court there held, unremarkably,

that because Texas law does not permit recovery for attorneys’ fees on a fraud claim and because

there was no contract between the parties allowing for such recovery, the trial court’s inclusion of

attorney fees in the judgment constituted error. Here, the Notes at issue do provide that Highland

is entitled to all costs of collection, not just those directly incurred on a subset of litigated issues.

Specifically, Section 6 of each Note provides:


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         Attorneys’ Fees. If this Note is not paid at maturity (whether by acceleration or
         otherwise) and is placed in the hands of an attorney for collection, or if it is collected
         through a bankruptcy court or any other court after maturity, the Maker shall pay,
         in addition to all other amounts owing hereunder, all actual expenses of collection,
         all court costs and reasonable attorneys’ fees and expenses incurred by the holder
         hereof.


Nothing in Section 6 limits Highland’s recovery of “all actual expenses of collection” to only

breach of contract and turnover claims, where all of the causes of action and claims asserted in the

adversary proceeding were expenses of collecting on the Notes.

         Moreover, the Texas Supreme Court in Varner v. Cardenas, 218 S.W.3d 68, 69 (Tex.

2007)(citations omitted), which expressly followed Chapa, upheld an award of attorneys’ fees to

the prevailing plaintiff who successfully sued on a promissory note that included fees incurred by

the plaintiff in defending against the defendant’s counterclaim:17

         But we disagree that fees defending against the [defendants’] counterclaim must be
         segregated too. By asserting a shortfall of acreage as a defense and counterclaim,
         [defendants] sought to reduce the amount collected on the note; to collect the full
         amount, [plaintiffs] had to overcome this defense. As their attorney’s efforts to that
         effect were necessary to recover on their contract, they are recoverable.


Here, all of the counts in the amended complaint were included in connection with, and directly

related to, Highland’s pursuit of recovery on the Notes. All of the time spent by Highland’s

counsel responding to Defendants’ various defenses and litigating the myriad issues that have

arisen in these proceedings were incurred in pursuit of, and were necessary to, Highland’s recovery

on the Notes. Thus, because all of the attorneys’ fees and costs submitted by Highland for



17
   See also In re Arnette, 2011 WL 3651294, *3 -*4 (Bankr. N.D. Tex. Aug. 18, 2011)(where the bankruptcy court
found that fees incurred by plaintiff in plaintiff’s successful suit on a note that were incurred to prove plaintiff’s (a)
fraud claims “contributed directly to the [plaintiff’s] efforts to collect and enforce the notes against [the defendant
such that] . . . [t]he terms of the notes themselves make these fees recoverable,” and (b) § 523 claims “were part and
parcel of its efforts to collect and enforce the breach of contract and suit on a note claims[, and, thus,] “fall within the
ambit of the recoverable fees under the notes.”).


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inclusion in the Proposed Judgments were incurred as “actual expenses of collection” on the Notes,

they are recoverable by Highland in the Proposed Judgments. For these reasons, this court

recommends that the District Court overrule this objection to the Proposed Judgments and

reasonableness of attorneys’ fees and costs to be included therein.

      4. Objection #4: “Unsegregated fees” Should Be Excluded

           Defendants argue that Highland should not recover fees where counsels’ time records did

not “segregate” fees among the several Defendants, citing the Clearview Properties18 case.

Clearview Properties stands for the proposition that a plaintiff seeking an award of fees has the

burden of demonstrating that segregation is not required and that a mere assertion that all claims

against all defendants arise from common facts can be insufficient to satisfy that burden.

Defendants ignore a critical distinction between these adversary proceedings and the Clearview

Properties case: “these Adversary Proceedings were consolidated for all purposes, something to

which the Defendants readily agreed.” Response, ¶ 15. Early in the proceedings, this court

approved a stipulation of the parties providing, among other things:19

           The Parties agree that discovery taken in this case will be consolidated with
           discovery taken in the [ ] [A]dversary [P]roceedings and all discovery in each of
           the [A]dversary [P]roceedings will be treated as if it was taken in all of the
           [A]dversary [P]roceedings . . . so that each witness will only need to be deposed
           once and documents produced in any of the [A]dversary [P]roceedings are usable
           as if received in every other [P]roceeding.
Highland points out the absurdity of Defendants’ argument in its Response,20




18
  Clearview Properties, L.P. v. Property Texas SC One Corp., 287 S.W.3d 132, 144 (Tex.App. – Houston [14th Dist.]
2009).
19
  See Order Approving Stipulation Governing Discovery and Other Pre-Trial Issues, at ¶ 4, Adv. Pro. 21-3003 [DE
#86], Adv. Pro. 21-3004 [DE #67], Adv. Pro. 21-3005 [DE #70], Adv. Pro. 21-3006 [DE #75], and Adv. Pro. 21-3007
[DE #70].
20
     Response, at ¶ 20.


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       The very consolidation that enabled all parties and this Court to enjoy at least some
       level of litigation efficiency, the very consolidation these Defendants wanted and
       moved this Court to impose, is now the consolidation Defendants would have this
       Court utterly ignore in favor of requiring Plaintiff to do the impossible—to
       segregate fees incurred in fully consolidated proceedings, Defendant by closely-
       affiliated Defendant, as though there were no consolidation either ordered by this
       Court or stipulated to by these Defendants. The egg has been thoroughly scrambled
       for well over a year. Defendants willingly scrambled it, but would now have the
       prevailing Plaintiff separate yolk from white.


This court agrees that Defendants should not now be heard to complain about the consequences of

the very consolidation of these Adversary Proceedings that was done at the behest of all parties,

including the Defendants, for the purposes of creating litigation efficiencies (which necessarily

benefited all of the Defendants in the end by limiting the total attorneys’ fees incurred in

connection with the litigation of the consolidated proceedings). Accordingly, this court

recommends that the District Court overrule this objection to the Proposed Judgments and

reasonableness of attorneys’ fees and costs to be included therein.

   5. Objection #5: Fees Attributable to “Unsuccessful Litigation” Should Be Excluded

       In their Proposed Judgment Objection, Defendants argue that a plaintiff cannot recover

attorneys’ fees for work related to “claims as to which he or she did not prevail,” Proposed

Judgment Objection, 16 (quoting a Massachusetts federal district court case—Roggio v.

Grasmuck, 18 F.Supp.3d 49, 56 (D. Mass. 2014)(citing a First Circuit case, Torres-Rivera v.

O’Neill-Cancel, 524 F.3d 331, 336 (1st Cir. 2008))(emphasis added)). Defendants follow with a

“see also” citation to the only case cited by the Defendants that would be binding authority: to the

Fifth Circuit’s Wal-Mart Stores, Inc. v. Qore, Inc., 647 F.3d 237, 246-48 (5th Cir. 2011), for the

proposition that Highland must “present evidence by which to allocate its legal fees among

successful and unsuccessful claims.” Id. (emphasis added). Finally, Defendants highlight three

pieces of this complex and lengthy litigation as instances in which Highland “did not prevail” and


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argue that, under their cited legal “authority,” Highland cannot recover fees that are associated

with those three pieces of litigation.

         Neither the nonbinding authority nor the binding Fifth Circuit authority is applicable to

Highland’s ability to recover the full amount of the fees requested here. First, the authorities

discuss the recoverability under certain circumstances of fees incurred in litigating successful

claims, in the sense of causes of action, versus unsuccessful claims, again, in the sense of causes

of action, in the same litigation. None of the three litigation instances identified by Defendants as

“matters” in which Highland “did not prevail”21 were separate claims (or causes of action) being

pursued by Highland in the litigation. Rather, they were discrete issues that were litigated in the

context of Highland’s pursuit of collection on the Notes. And, as noted above, pursuant to the

terms of the Notes, Highland is entitled to recover all expenses of collection, including attorneys’

fees and costs. If attorneys’ fees were incurred in the course of Highland’s efforts to collect on

the Notes, those fees are recoverable.

         Defendants cite no law that requires a successful plaintiff entitled to all expenses (including

costs and attorneys’ fees) of collection on a note to prevail on every motion or issue that is litigated


21
    The three matters in which Defendants assert Highland “did not prevail” were (1) its opposition to Defendants’
motion to strike a David Klos declaration; (2) its motion for sanctions that was filed as a part of a single motion seeking
two forms of relief: (a) the striking of an argument in opposition to summary judgment that was precluded by a prior
court order and (b) sanctions for that conduct; and (3) its efforts to consolidate these proceedings before a different
district court judge than who ultimately received these cases. Highland argues that a plaintiff’s “uniform success at
every small step on the way to complete victory” is not required in order to recover all fees under the notes and that,
even if such were a requirement, the Defendants “mischaracterize all three instances of so-called ‘unsuccessful’
litigation.” Response, ¶ 23. With respect to Highland’s opposition to the striking of the David Klos declaration,
Highland notes that the Bankruptcy Court granted the motion on the ground that Highland had not sought leave to
include the declaration in a reply appendix, and, thus, it “was a simple evidentiary ruling by the court and does not
constitute an example of ‘unsuccessful litigation.’” Id. at ¶ 23(a). With respect to the request for sanctions, Highland
argues that it did not “lose” its “motion for sanctions”; rather, Highland prevailed on its motion seeking to strike one
of Defendants’ arguments in opposition to summary judgment that included a request for sanctions that the Bankruptcy
Court did not grant when it granted the motion. Id. at ¶ 23(b). Lastly, Highland argues that its efforts to consolidate
these proceedings before a different district judge “were good-faith efforts to maximize Plaintiff’s chances of success
in nascent litigation against a highly-litigious set of foes” that was resolved in a couple of weeks and was not
“unreasonable.” Id. at ¶ 23(c).


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in a multi-faceted, multiple-defendant, multi-year, consolidated-for-all-purposes litigation to have

“all expenses of collection” awarded as part of the judgment on the note. Defendants’ citation to

the Fifth Circuit’s Wal-Mart case is misplaced. In the Wal-Mart case, the Fifth Circuit addressed

the issue of whether, under Mississippi law, Wal-Mart was entitled to recover from one defendant

the full amount of attorneys’ fees incurred in its breach of contract and negligence suit against

three firms that it had hired to assist with the design and construction of a new store after the jury

had awarded damages to Wal-Mart on some, but not all, of its causes of action. After trial, the jury

had found that the testing and inspection firm (“Qore”) was liable for 10% of the damages to the

building along with one of the other defendant firms, which the jury found to be liable for 90% of

the damages to the building. Wal-Mart, 647 F.3d at 241. The jury also determined that Qore’s

liability on the damages to the building claim was entirely attributable to its work done under its

testing and inspection contract and not under its geotechnical services contract. Id. By post-trial

motion, Wal-mart sought to recover the entire amount of its fees incurred in the litigation—on all

claims, successful and unsuccessful, and against all parties—from Qore. Id. The district court

granted Wal-Mart’s motion subject to a small reduction attributable to an adjustment to the lodestar

rate and some excessive billing. Id. at 242. Qore appealed the district court’s fee award, and asked

the Fifth Circuit to vacate it. Id. at 242.

        The Court first agreed with the district court’s finding that a plain reading of an indemnity

provision in the testing and inspection contract, which stated that “[Qore] . . . agrees to indemnify

and hold Wal-Mart free and harmless from any claim, demand, loss, damage, or injury (including

Attorney’s fees) caused by any negligent act or omission by [Qore] . . . ,” allowed for Wal-Mart’s

recovery of reasonable fees. Id. at 243. Qore contended, though, that “in light of Wal-Mart’s

multiple claims against multiple parties, only one of which was successful as to Qore, the district



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court’s fee award should be vacated because Wal-Mart failed to present competent evidence by

which to allocate its legal fees among successful and unsuccessful claims as required by

Mississippi law” and that “Wal-Mart’s recovery is limited to those fees incurred in prosecuting the

single claim upon which it prevailed against Qore, i.e., fees spent proving Qore’s fractional share

of liability on the building repair claim. . . .” Id. at 244. The Fifth Circuit agreed with Qore. But,

importantly as to why Wal-Mart does not support Defendants’ objection here, the Fifth Circuit

found that “Wal-Mart’s recovery should have been limited to those attorney’s fees incurred in

proving Qore’s liability on the building repair claim,” id. at 245-46, only because the sole basis

for Wal-Mart’s recovery of attorney’s fees against Qore was the contractual indemnity provision,

and a plain reading of that provision—that entitled Wal-Mart to reimbursement of attorney’s fees

“caused by any negligent act or omission” on the part of Qore—limited Qore’s duty to reimburse

Wal-Mart for its reasonable attorney’s fees “to those fees proximately and legally ‘caused by’

Qore’s negligence.” Id. at 245.

       Here, to repeat a theme throughout this supplemental report and recommendation, all of

the Notes that were the subject of this litigation and the Proposed Judgments provide that Highland

is entitled to recover “all actual expenses of collection” on the Notes, including “all court costs

and reasonable attorneys’ fees incurred by the holder hereof.” (emphasis added). There is no

limitation to the phrase “all actual expenses of collection” that is similar to the language in the

contract in the Wal-Mart case that limited Wal-Mart’s recovery of fees to those fees “caused by”

Qore’s negligence. The attorneys’ fees sought by Highland were all expenses incurred in the

collection of the Notes in these consolidated proceedings in which Highland was successful against

all of the Defendants identified in the Proposed Judgments and from whom Highland seeks

recovery of reasonable attorneys’ fees and costs. In the Wal-Mart case, the defendants were



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unaffiliated, the plaintiff did not prevail against all the defendants, and there was no mention of

the type of deep consolidation of all proceedings in that litigation that has occurred in these

Adversary Proceedings (at the behest and agreement of all of the parties to this litigation, including

the Defendants). For these reasons, this court recommends that the District Court overrule this

objection to the Proposed Judgments and reasonableness of attorneys’ fees and costs to be included

therein.

     6. Objection #6: PSZJ’s’s Rates Are Too High

        Defendants argue that PSZJ’s rates are unreasonably high because they exceed the rates

charged by local firms for similar services. This court has already approved PSZJ’s rates as

reasonable under § 330 and under the applicable standard originally announced by the Fifth Circuit

in Johnson.22 In addition, Mr. Dondero, when he controlled Highland, personally hired PSZJ to

be bankruptcy counsel for Highland and “agreed, in writing, to the very fee structure and rates

(albeit with disclosed, annual increases customary in the industry) he now complains about.” See

Response, ¶ 25. This court recommends that the District Court overrule this objection to the

Proposed Judgments and reasonableness of attorneys’ fees and costs to be included therein.

     7. Objection #7: The Distribution of Fees and Costs Among Defendants Is Unreasonable

        Defendants assert that Highland’s proposed distribution of awarded fees among the five

Defendants “is unreasonable because it arbitrarily advocates for a distribution of the fees among

the five Defendants equally (one-fifth each) regardless of the amount of the proposed judgment



22
   See Bankr. Case No. 19-34054-sgj11, Fifth and Final Application for Compensation and Reimbursement of
Expenses of Pachulski Stang Ziehl & Jones LLP [BC DE #2906], at 37–39 (describing how PSZJ’s fees satisfied the
Johnson factors—see Johnson v. Ga. Highway Express, Inc., 488 F.2d 714 (5th Cir. 1974)); Order Granting Fifth and
Final Application for Compensation and Reimbursement of Expenses of Pachulski Stang Ziehl & Jones LLP [BC DE
#3055].


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against each Defendant and their involvement in the case.” Proposed Judgment Objection, 21. In

response, Highland indicates that it “is indifferent and has no objection if Defendants would rather

allocate Plaintiff’s fees and costs pro rata, based on the ratio of the outstanding principal and

interest owed by each Obligor to the total principal and interest owed by all Obligors.” Response,

¶ 27. Thus, without deciding whether an equal allocation among Defendants of attorneys’ fees

and costs is improper in these adversary proceedings, this court recommends to the District Court

that the provision in each of the Proposed Judgments that allocates to each Defendant “one-fifth

of the total allocable and actual expenses of collection, including attorneys’ fees and costs, incurred

by Highland,” be replaced with an actual allocated amount of the fees and costs, which is a pro

rata allocation based on the ratio of the outstanding principal and interest owed by each Note

Maker Defendant to the total principal and interest owed by all Note Maker Defendants under the

Proposed Judgments.

III.   Submission of Proposed Forms of Judgment to District Court

       Having considered the Proposed Judgment in each of the adversary proceedings and the

Notices and Backup Documentation (as supplemented by Highland) regarding the attorneys’

fees and costs to be inserted into each Proposed Judgment; Defendants’ Proposed Judgment

Objection; and Highland’s Response; and for the reasons set forth herein, this court hereby

supplements its R&R MPSJ and recommends to the District Court that it, after consideration of

the R&R MPSJ and this supplemental report and recommendation, enter the applicable

Proposed Judgment (as modified to reflect a pro rata allocation of attorneys’ fees and costs

based on the ratio of the outstanding principal and interest owed by each Note Maker Defendant

to the total principal and interest owed by all Note Maker Defendants) in each of the five adversary

proceedings that are hereby transmitted as exhibits hereto. The proposed forms of judgment in



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Adv. Proc. No. 21-3003, Adv. Proc. No. 21-3004, Adv. Proc. No. 21-3005, Adv. Proc. No. 21-

3006, and Adv. Proc. No. 21-3007 are attached hereto as Exhibits A-E, respectively.23

                     ### End of Supplement to Report and Recommendation ###




23
 A spreadsheet showing this court’s calculation of the proposed allocation of attorneys’ fees and costs to each Note
Maker Defendant is attached hereto as Exhibit F.


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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION
______________________________________________
                                              §
IN RE HIGHLAND CAPITAL MANAGEMENT, L.P., §
                                              §                  Bankr. Case No. 19-34054-sgj11
                    Reorganized Debtor.       §
                                              §
HIGLAND CAPITAL MANAGEMENT, L.P.,             §
                                              §                  Adv. Pro. No. 21-3003-sgj
                    Plaintiff,                §
                                              §                  Civ. Act. No. 3:21-cv-1010-X
JAMES DONDERO, NANCY DONDERO, and             §
THE DUGABOY INVESTMENT TRUST,                 §                  (Consolidated under
                                              §                  Civ. Act. No. 3:21-cv-881-X)
                    Defendants.               §
                                              §

                                     PROPOSED FORM OF JUDGMENT

        This matter having come before the Court on the Motion for Partial Summary Judgment in

Notes Actions (the “Motion”) filed by Highland Capital Management, L.P. (“Highland” or

“Plaintiff”), the reorganized debtor in the above-captioned chapter 11 case and plaintiff in the above-

referenced adversary proceeding; and the Court having considered (a) Highland’s Motion and all arguments

and evidence admitted into the record in support of the Motion, (b) all responses and objections to the Motion

and all arguments and evidence admitted into the record in support of such responses and objections, and the

arguments presented by counsel during the hearing held on April 20, 2022, on the Motion (the
                                                      1
                                                                                                   Exhibit A
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“Hearing”); and for the reasons set forth in the Report and Recommendation to District Court: Court

Should Grant Plaintiff’s Motion for Partial Summary Judgment Against All Five Note Maker

Defendants (With Respect to All Sixteen Promissory Notes) in the Above-Referenced Consolidated

Note Actions (“R&R”) filed by the Bankruptcy Court on July 19, 2022, and the Supplement to Report

and Recommendation Dated July 19, 2022, Transmitting Proposed Forms of Judgment; the Court

hereby enters the following final judgment (the “Final Judgment”).

           IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that Plaintiff recover

the following:

           1.         Mr. James Dondero (“Mr. Dondero”) will owe Highland $3,873,613.93 in accrued

but unpaid principal and interest due under Dondero’s First Note 1 (issued on February 2, 2018) as

of August 8, 2022, after application of all payments to outstanding principal and interest. As of

August 9, 2022, interest will continue to accrue on the First Dondero Note at the rate of $278.50

per day and will increase to $285.91 per day on February 2, 2023.

           2.         Mr. Dondero will owe Highland $2,778,356.23 in accrued but unpaid principal and

interest due under Dondero’s Second Note (issued on August 1, 2018) as of August 8, 2022, after

application of all payments to outstanding principal and interest. As of August 9, 2022, interest

will continue to accrue on Dondero’s Second Note at the rate of $224.43 per day and will increase

to $231.05 per day on August 1, 2023.

           3.         Mr. Dondero will owe Highland $2,778,339.88 in accrued but unpaid principal and

interest due under Dondero’s Third Note (issued on August 13, 2018) as of August 8, 2022, after

application of all payments to outstanding principal and interest. As of August 9, 2022, interest

will continue to accrue on Dondero’s Third Note at the rate of $218.20 per day and will increase to

$224.64 per day on August 13, 2022.


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    Capitalized terms not defined herein shall have the meanings ascribed to them in the R&R.
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        4.        In addition to the forgoing, and pursuant to the terms of each applicable Note, Mr.

Dondero shall pay to Highland the amount of $443,074.35, which is his pro rata allocation (based on the

ratio of the outstanding principal and interest owed by Mr. Dondero to Plaintiff as of August 8, 2022, to the

total principal and interest owed by all Note Maker Defendants to Plaintiff as of August 8, 2022) of the total

allocable and actual expenses of collection, including attorneys’ fees and costs, incurred by Highland.

        5.        The amounts set forth to be paid in this Final Judgment shall bear interest, pursuant

to 28 U.S.C. § 1961, from the date of the entry of this Final Judgment, at a rate of [ ]%. Interest

shall be computed daily to the date of payment, except as provided in 28 U.S.C. § 2516(b) and 31

U.S.C. § 1304(b), and shall be compounded annually.


                                       # # # END OF ORDER # # #




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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

______________________________________________
                                              §
IN RE HIGHLAND CAPITAL MANAGEMENT, L.P., §
                                              §          Bankr. Case No. 19-34054-sgj11
                    Reorganized Debtor.       §
                                              §
HIGLAND CAPITAL MANAGEMENT, L.P.,             §
                                              §          Adv. Pro. No. 21-3004-sgj
                    Plaintiff,                §
                                              §          Civ. Act. No. 3:21-cv-881-X
HIGHLAND CAPITAL MANAGEMENT FUND              §
ADVISORS, L.P.,                               §
                                              §
                    Defendants.               §
                                              §

                                PROPOSED FORM OF JUDGMENT

       This matter having come before the Court on the Motion for Partial Summary Judgment in

Notes Actions (the “Motion”) filed by Highland Capital Management, L.P. (“Highland” or

“Plaintiff”), the reorganized debtor in the above-captioned chapter 11 case and plaintiff in the

above-referenced adversary proceeding; and the Court having considered (a) Highland’s Motion


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                                                                                           Exhibit B
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and all arguments and evidence admitted into the record in support of the Motion, (b) all responses

and objections to the Motion and all arguments and evidence admitted into the record in support of

such responses and objections, and the arguments presented by counsel during the hearing held on

April 20, 2022, on the Motion; and for the reasons set forth in the Report and Recommendation to

District Court: Court Should Grant Plaintiff’s Motion for Partial Summary Judgment Against All

Five Note Maker Defendants (With Respect to All Sixteen Promissory Notes) in the Above-

Referenced Consolidated Note Actions (“R&R”) filed by the Bankruptcy Court on July 19, 2022, and

the Supplement to Report and Recommendation Dated July 19, 2022, Transmitting Proposed

Forms of Judgment; the Court hereby enters the following final judgment (the “Final Judgment”).

           IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that Plaintiff recover

the following:

           1.       Highland Capital Management Fund Advisors, L.P. (“HCMFA”) will owe

Highland $2,552,628.61 in accrued but unpaid principal and interest due under HCMFA’s First

Note1 (issued on May 2, 2019), as of August 8, 2022, after application of all payments to

outstanding principal and interest. As of August 9, 2022, interest will continue to accrue on

HCMFA’s First Note at the rate of $166.08 per day and will increase to $170.05 per day on May 2,

2023.

           2.       HCMFA will owe Highland $5,317,989.86 in accrued but unpaid principal and

interest due under HCMFA’s Second Note (issued on May 3, 2019), as of August 8, 2022, after

application of all payments to outstanding principal and interest. As of August 9, 2022, interest

will continue to accrue on HCMFA’s Second Note at the rate of $346.02 per day and will increase

to $354.29 per day on May 3, 2023.




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       3.       In addition to the forgoing, and pursuant to the terms of each applicable Note,

HCMFA shall pay to Highland the amount of $369,793.69, which is its pro rata allocation (based

on the ratio of the outstanding principal and interest owed by HCMFA to Plaintiff as of August 8,

2022, to the total principal and interest owed by all Note Maker Defendants to Plaintiff as of

August 8, 2022) of the total allocable and actual expenses of collection, including attorneys’ fees

and costs, incurred by Highland.

       4.       The amounts set forth to be paid in this Final Judgment shall bear interest, pursuant

to 28 U.S.C. § 1961, from the date of the entry of this Final Judgment, at a rate of [ ]%. Interest

shall be computed daily to the date of payment, except as provided in 28 U.S.C. § 2516(b) and 31

U.S.C. § 1304(b), and shall be compounded annually.

                                   # # # END OF ORDER # # #




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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

______________________________________________
                                              §
IN RE HIGHLAND CAPITAL MANAGEMENT, L.P., §
                                              §                  Bankr. Case No. 19-34054-sgj11
                    Reorganized Debtor.       §
                                              §
HIGLAND CAPITAL MANAGEMENT, L.P.,             §
                                              §                  Adv. Pro. No. 21-3005-sgj
                    Plaintiff,                §
                                              §                  Civ. Act. No. 3:21-cv-880-X
NEXPOINT ADVISORS, L.P., JAMES DONDERO, §
ADVISORS, L.P., NANCY DONDERO, and            §                  (Consolidated under
THE DUGABOY INVESTMENT TRUST                  §                  Civ. Act. No. 3:21-cv-881-X)
                                              §
                    Defendants.               §
                                              §


                                     PROPOSED FORM OF JUDGMENT

        This matter having come before the Court on the Motion for Partial Summary Judgment in

Notes Actions (the “Motion”) filed by Highland Capital Management, L.P. (“Highland” or

“Plaintiff”), the reorganized debtor in the above-captioned chapter 11 case and plaintiff in the above-

referenced adversary proceeding; and the Court having considered (a) Highland’s Motion and all arguments

and evidence admitted into the record in support of the Motion, (b) all responses and objections to the Motion

and all arguments and evidence admitted into the record in support of such responses and objections, and the

arguments presented by counsel during the hearing held on April 20, 2022, on the Motion; and for
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                                                                                              Exhibit C
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the reasons set forth in the Report and Recommendation to District Court: Court Should Grant

Plaintiff’s Motion for Partial Summary Judgment Against All Five Note Maker Defendants (With

Respect to All Sixteen Promissory Notes) in the Above-Referenced Consolidated Note Actions (the

“R&R”) filed by the Bankruptcy Court on July 19, 2022, and the Supplement to Report and

Recommendation Dated July 19, 2022, Transmitting Proposed Forms of Judgment; the Court hereby

enters the following final judgment (the “Final Judgment”).

           IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that Plaintiff recover

the following:

           1.         NexPoint Advisors, L.P. (“NexPoint”) will owe Highland $23,389,882.79 in

accrued but unpaid principal and interest due under the NexPoint Term Note1 (issued on May 31, 2017), as of

August 8, 2022, after application of all payments to outstanding principal and interest. As of August 9, 2022,

interest will continue to accrue on the NexPoint Term Note at the rate of $3,801.79 per day and will

increase to $4,029.90 per day on May 31, 2023.

           2.         In addition to the forgoing, and pursuant to the terms of each the Note, NexPoint

shall pay to Highland the amount of $1,098,951.89, which is its pro rata allocation (based on the ratio

of the outstanding principal and interest owed by NexPoint to Plaintiff as of August 8, 2022, to the

total principal and interest owed by all Note Maker Defendants to Plaintiff as of August 8, 2022) of

the total allocable and actual expenses of collection, including attorneys’ fees and costs, incurred by

Highland.

           3.         The amounts set forth to be paid in this Final Judgment shall bear interest, pursuant

to 28 U.S.C. § 1961, from the date of the entry of this Final Judgment, at a rate of [ ]%. Interest

shall be computed daily to the date of payment, except as provided in 28 U.S.C. § 2516(b) and 31 U.S.C. §

1304(b), and shall be compounded annually.

                                             # # # END OF ORDER # # #

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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION
______________________________________________
                                              §
IN RE HIGHLAND CAPITAL MANAGEMENT, L.P., §
                                              §         Bankr. Case No. 19-34054-sgj11
                    Reorganized Debtor.       §
                                              §
HIGLAND CAPITAL MANAGEMENT, L.P.,             §
                                              §         Adv. Pro. No. 21-3006-sgj
                    Plaintiff,                §
                                              §         Civ. Act. No. 3:21-cv-1378-X
HIGHLAND CAPITAL MANAGEMENT                   §
SERVICES, INC., JAMES DONDERO, NANCY          §         (Consolidated under
DONDERO, and THE DUGABOY                      §         Civ. Act. No. 3:21-cv-881-X)
INVESTMENT TRUST                              §
                                              §
                    Defendants.               §
                                              §


                                PROPOSED FORM OF JUDGMENT

       This matter having come before the Court on the Motion for Partial Summary Judgment in

Notes Actions (the “Motion”) filed by Highland Capital Management, L.P. (“Highland” or

“Plaintiff”), the reorganized debtor in the above-captioned chapter 11 case and plaintiff in the

above-referenced adversary proceeding; and the Court having considered (a) Highland’s Motion and
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                                                                                              Exhibit D
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all arguments and evidence admitted into the record in support of the Motion, (b) all responses and

objections to the Motion and all arguments and evidence admitted into the record in support of such

responses and objections, and the arguments presented by counsel during the hearing held on April

20, 2022, on the Motion; and for the reasons set forth in the Report and Recommendation to District

Court: Court Should Grant Plaintiff’s Motion for Partial Summary Judgment Against All Five Note

Maker Defendants (With Respect to All Sixteen Promissory Notes) in the Above-Referenced

Consolidated Note Actions (the “R&R”) filed by the Bankruptcy Court on July 19, 2022, and the

Supplement to Report and Recommendation Dated July 19, 2022, Transmitting Proposed Forms of

Judgment; the Court hereby enters the following final judgment (the “Final Judgment”).

           IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that Plaintiff recover

the following:

           1.         Highland Capital Management Services, Inc. (“HCMS”) will owe Highland

$166,196.60 in accrued but unpaid principal and interest due under HCMS’s First Demand Note1

(issued on March 28, 2018), as of August 8, 2022, after application of all payments to outstanding

principal and interest. As of August 9, 2022, interest will continue to accrue on HCMS’s First

Demand Note at the rate of $12.98 per day and will increase to $13.35 per day on March 26, 2023.

           2.         HCMS will owe Highland $222,917.23 in accrued but unpaid principal and interest

due under HCMS’s Second Demand Note (issued on June 25, 2018), as of August 8, 2022, after

application of all payments to outstanding principal and interest. As of August 9, 2022, interest will

continue to accrue on HCMS’s Second Demand Note at the rate of $18.56 per day and will

increase to $19.13 per day on June 25, 2023.

           3.         HCMS will owe Highland $425,435.63 in accrued but unpaid principal and interest

due under HCMS’s Third Demand Note (issued on May 29, 2019), as of August 8, 2022, after


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    Capitalized terms not defined herein shall have the meanings ascribed to them in the R&R.
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application of all payments to outstanding principal and interest. As of August 9, 2022, interest will

continue to accrue under HCMS’s Third Demand Note at the rate of $27.73 per day and will

increase to $28.39 per day on May 29, 2023.

       4.        HCMS will owe Highland $159,454.92 in accrued but unpaid principal and interest

due under HCMS’s Fourth Demand Note (issued on June 26, 2019), as of August 8, 2022, after

application of all payments to outstanding principal and interest. As of August 9, 2022, interest will

continue to accrue on HCMS’s Fourth Demand Note at the rate of $10.32 per day and will increase

to $10.57 per day on June 26, 2023.

       5.        HCMS will owe Highland $6,071,718.32 in accrued but unpaid principal and

interest due under the HCMS Term Note (issued on May 31, 2017), as of August 8, 2022, after

application of all payments to outstanding principal and interest. As of August 9, 2022, interest will

continue to accrue on the HCMS Term Note at the rate of $455.09 per day and will increase to

$467.61 per day on May 31, 2023.

       6.        In addition to the forgoing, and pursuant to the terms of each applicable Note,

HCMS shall pay to Highland the amount of $331,036.73, which is its pro rata allocation (based on

the ratio of the outstanding principal and interest owed by HCMS to Plaintiff as of August 8, 2022,

to the total principal and interest owed by all Note Maker Defendants to Plaintiff as of August 8,

2022) of the total allocable and actual expenses of collection, including attorneys’ fees and costs,

incurred by Highland.

       7.        The amounts set forth to be paid in this Final Judgment shall bear interest, pursuant

to 28 U.S.C. § 1961, from the date of the entry of this Final Judgment, at a rate of [ ]%. Interest

shall be computed daily to the date of payment, except as provided in 28 U.S.C. § 2516(b) and 31

U.S.C. § 1304(b), and shall be compounded annually.


                                     # # # END OF ORDER # # #

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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

______________________________________________
                                              §
IN RE HIGHLAND CAPITAL MANAGEMENT, L.P., §
                                              §                  Bankr. Case No. 19-34054-sgj11
                    Reorganized Debtor.       §
                                              §
HIGLAND CAPITAL MANAGEMENT, L.P.,             §
                                              §                  Adv. Pro. No. 21-3007-sgj
                    Plaintiff,                §
                                              §                  Civ. Act. No. 3:21-cv-1379-X
HCRE PARTNERS, LLC (n/k/a NEXPOINT REAL       §
REAL ESTATE PARTNERS, LLC)., JAMES            §                  (Consolidated under
DONDERO, NANCY DONDERO, and                   §                  Civ. Act. No. 3:21-cv-881-X)
THE DUGABOY INVESTMENT TRUST                  §
                                              §
                    Defendants.               §
                                              §


                                PROPOSED FORM OF JUDGMENT


        This matter having come before the Court on the Motion for Partial Summary Judgment in

Notes Actions (the “Motion”) filed by Highland Capital Management, L.P. (“Highland” or

“Plaintiff”), the reorganized debtor in the above-captioned chapter 11 case and plaintiff in the above-

referenced adversary proceeding; and the Court having considered (a) Highland’s Motion and all arguments

and evidence admitted into the record in support of the Motion, (b) all responses and objections to the Motion
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and all arguments and evidence admitted into the record in support of such responses and objections, and the

arguments presented by counsel during the hearing held on April 20, 2022, on the Motion; and for

the reasons set forth in the Report and Recommendation to District Court: Court Should Grant

Plaintiff’s Motion for Partial Summary Judgment Against All Five Note Maker Defendants (With

Respect to All Sixteen Promissory Notes) in the Above-Referenced Consolidated Note Actions (the

“R&R”) filed by the Bankruptcy Court on July 19, 2022, and the Supplement to Report and

Recommendation Dated July 19, 2022, Transmitting Proposed Forms of Judgment; the Court hereby

enters the following final judgment (the “Final Judgment”).

           IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that Plaintiff recover

the following:

           1.       HCRE Partners, LLC (n/k/a NexPoint Real Estate Partners, LLC) (“HCRE”) will

owe Highland $195,476.70 in accrued but unpaid principal and interest due under HCRE’s First

Demand Note1 (issued on November 27, 2013), as of August 8, 2022, after application of all

payments to outstanding principal and interest. As of August 9, 2022, interest will continue to accrue

on HCRE’s First Demand Note at the rate of $40.58 per day and will increase to $43.83 per day on

November 27, 2022.

           2.       HCRE will owe Highland $3,551,285.37 in accrued but unpaid principal and interest

due under HCRE’s Second Demand Note (issued on October 12, 2017), as of August 8, 2022, after

application of all payments to outstanding principal and interest. As of August 9, 2022, interest will

continue to accrue on HCRE’s Second Demand Note at the rate of $730.34 per day and will increase

to $788.77 per day on October 12, 2022.

           3.       HCRE will owe Highland $986,472.32 in accrued but unpaid principal and interest

due under HCRE’s Third Demand Note (issued on October 15, 2018), as of August 8, 2022, after


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    Capitalized terms not defined herein shall have the meanings ascribed to them in the R&R.
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application of all payments to outstanding principal and interest. As of August 9, 2022, interest will

continue to accrue on HCRE’s Third Demand Note at the rate of $203.00 per day and will increase

to $219.24 per day on October 15, 2022.

       4.      HCRE will owe Highland $866,600.77 in accrued but unpaid principal and interest

due under HCRE’s Fourth Demand Note (issued on September 25, 2019), as of August 8, 2022, after

application of all payments to outstanding principal and interest. As of August 9, 2022, interest will

continue to accrue under HCRE’s Fourth Demand Note at the rate of $177.60 per day and will

increase to $191.81 per day on September 25, 2022.

       5.      HCRE will owe Highland $6,196,688.51 in accrued but unpaid principal and interest

due under the HCRE Term Note (issued on May 31, 2017), as of August 8, 2022, after application of

all payments to outstanding principal and interest. As of August 9, 2022, interest will continue to

accrue on the HCRE Term Note at the rate of $1,337.94 per day and will increase to $1,444.98 per

day on May 31, 2023.

       6.      In addition to the forgoing, and pursuant to the terms of each applicable Note, HCRE

shall pay to Highland the amount of $554,248.69, which is its pro rata allocation (based on the ratio

of the outstanding principal and interest owed by HCRE to Plaintiff as of August 8, 2022, to the total

principal and interest owed by all Note Maker Defendants to Plaintiff as of August 8, 2022) of the

total allocable and actual expenses of collection, including attorneys’ fees and costs, incurred by

Highland.

       7.      The amounts set forth to be paid in this Final Judgment shall bear interest, pursuant to

28 U.S.C. § 1961, from the date of the entry of this Final Judgment, at a rate of [ ]%. Interest shall

be computed daily to the date of payment, except as provided in 28 U.S.C. § 2516(b) and 31 U.S.C.

§ 1304(b), and shall be compounded annually.


                                    # # # END OF ORDER # # #

                                                  3
                                                    PROPOSED ALLOCATION OF ATTORNEYS' FEES AND COSTS

                                                                                                  Attys' Fees                    Equal Allocation of
                           Bankr.        Note Maker                                               Ratio (Def Pro Rata Amt Attys' Attys' Fees to each
                         *                         **
            Civ. Act. No. Adv. #         Defendant            P&I by Note       P&I by Defendant P&I/Tot P&I)       Fees                 Def
            3:21-cv-1010 21-3003         Dondero          $     3,873,613.93
                                                          $     2,778,356.23
                                                          $     2,778,339.88     $    9,430,310.04        0.158404598 $            443,074.35     $         559,421.07
            3:21-cv-881   21-3004        HCMFA            $     2,552,628.61
                                                          $     5,317,989.86     $    7,870,618.47         0.13220585 $            369,793.69     $         559,421.07
            3:21-cv-880 21-3005          NexPoint         $    23,389,882.79     $   23,389,882.79        0.392888988 $          1,098,951.89     $         559,421.07
            3:21-cv-1378 21-3006         HCMS             $       166,196.60
                                                          $       222,917.23
                                                          $       425,435.63
                                                                                                                                                                          Case 3:21-cv-00881-X Document




                                                          $       159,454.92
                                                          $     6,071,718.32     $    7,045,722.70        0.118349753 $            331,036.73     $         559,421.07
                                                                                                                                                                                                   Document




            3:21-cv-1379 21-3007         HCRE             $       195,476.70
                                                          $     3,551,285.37
                                                                                                                                                                                                        80-1 Filed




                                                          $       986,472.32
                                                                                                                                                                                                                Page




                                                          $       866,600.77
                                                          $     6,196,688.51     $   11,796,523.67        0.198150811 $            554,248.69     $         559,421.07
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                                                          $    59,533,057.67     $   59,533,057.67                    1 $        2,797,105.35     $        2,797,105.35

                          *
                           The 5 Proceedings were consolidated at the District Court level under Civ. Act. No. 3:21-cv-881.

                          **
                              Each of the proceedings (with the exception of 3:21-cv-881, where HCMFA is the only defendant) have additional defendants,
                          but the Proposed Judgments are proposed to be entered against only the identified Note Maker Defendant in each proceeding.
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Exhibit F
